                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


DONALD MIDDLEBROOKS,                          )
                                              )
             Petitioner,                      )      No. 3:19-cv-01139
                                              )
      V.                                      )
                                              )
FRANK STRADA, et al.                          )
                                              )
             Respondent.                      )




                       ORDER OF STAY OF EXECUTION




      Donald Middlebrooks’ Unopposed Motion to Administratively Reopen Case

and for Stay of Execution (Doc. No. 108) is hereby GRANTED. By agreement

of the parties, Defendants shall not carry out the execution of Mr. Middlebrooks

until 30 days after a judgment is entered by this Court. (Doc. No. 59-3 at 2).

      IT IS SO ORDERED.




                                              ___________________________________
                                              WAVERLY D. CRENSHAW, JR.
                                              UNITED STATES DISTRICT JUDGE




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